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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF NEW YORK


 OLACHI MEZU-NDUBUISI, an Individual                 )
                                                     )
                             Plaintiff,              ) Case No.: 24-cv-6387-EAW
 vs.                                                 )
                                                     )
 UNIVERSITY OF ROCHESTER, et.al.                     )
                                                     )
                                                     )
                                                     )
                            Defendants.              )




       [PROPOSED] ORDER SEALING EXHIBIT AG SUBMITTED IN SUPPORT OF
       PLAINTIFF’S MEMORANDUM IN SUPPORT OF RENEWED MOTION FOR A
                         PRELIMINARY INJUNCTION
Upon consideration of Plaintiff’s motion to file under Seal, Exhibit AG, one of the exhibits that

was submitted in plaintiff’s memorandum in support of her renewed motion for preliminary

injunction and the declaration of C. Valerie Ibe, Esq. in support of the motion to file under seal

and the memorandum:




         IT IS HEREBY ORDERED that Exhibit AG shall be sealed.

         SO ORDERED, this ______ day of November, 2024.




                                              __________________________________
                                              Hon. Elizabeth A.Wolford
                                              Chief Judge, United States District Court
